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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                85 Flatbush RHO Mezz LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o GC REALTY ADVISORS, LLC
                                  3284 N 29th Court
                                  Hollywood, FL 33020
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  85 Flatbush Avenue Extension Brooklyn, NY
                                                                                                  11201
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    85 Flatbush RHO Mezz LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     EAST VILLAGE PROPERTIES LLC                                  Relationship             Affiliate
                                                            Southern District of
                                                 District   New York                      When    3/28/17                Case number, if known    17-22453 (RDD)

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Debtor   85 Flatbush RHO Mezz LLC                                                    Case number (if known)
         Name




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Debtor   85 Flatbush RHO Mezz LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    85 Flatbush RHO Mezz LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 18, 2020
                                                  MM / DD / YYYY


                             X   /s/ DAVID GOLDWASSER                                                     DAVID GOLDWASSER
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    CHIEF RESTRUCTURING OFFICER




18. Signature of attorney    X   /s/ FRED B. RINGEL                                                        Date December 18, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 FRED B. RINGEL
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 603-6300                Email address



                                 Bar number and State




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:                                                            Chapter 11

85 FLATBUSH RHO MEZZ LLC,                                         Case No.:

                                    Debtor.
---------------------------------------------------------X

                                  CERTIFICATE OF RESOLUTION

         I, the undersigned, DAVID GOLDWASSER, as Chief Restructuring Officer of 85

Flatbush RHO Mezz LLC (the “Company”), do hereby certify that at a meeting of the

Company duly called and held, the following resolutions were adopted and recorded in the

Minute Book of the Company, and they have not been modified or rescinded, and are still in full

force and effect:

                            RESOLVED, that in the judgment of the Company it is
                    desirable and in the best interest of the Company, its creditors,
                    members and other interested parties, that a petition be filed by the
                    Company for relief under Chapter 11 of title 11 of the United
                    States Code (the “Bankruptcy Code”); and it is further

                           RESOLVED, that the form of petition under Chapter 11
                    presented to this meeting is approved and adopted in all respects,
                    and that David Goldwasser as Chief Restructuring Officer of the
                    Company, is authorized to execute and verify a petition
                    substantially in such form and to cause the same to be filed with
                    the United States Bankruptcy Court for the Southern District of
                    New York at such time as he shall determine; and it is further

                             RESOLVED, that David Goldwasser, as Chief
                    Restructuring Officer of the Company, is authorized to execute and
                    file all petitions, reorganization schedules, lists and other papers
                    and to effectuate the filing of the Chapter 11 case, and, in that
                    connection, that the firm of Robinson Brog Leinwand Greene
                    Genovese & Gluck P.C. be retained and employed as legal counsel
                    for the Company under a general retainer, in addition to such
                    special counsel as may hereafter become necessary or proper with
                    a view to the successful conclusion of such Chapter 11 case.
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     IN WITNESS WHEREOF, I have hereunto set my hand and seal of the
Company this 18th day of December, 2020.


                                    85 Flatbush RHO Mezz LLC


                                    By:  /s/ David Goldwasser
                                    DAVID GOLDWASSER
                                    CHIEF RESTRUCTURING OFFICER




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           UNANIMOUS WRITTEN CONSENT TO CHAPTER 11 BANKRUPTCY
                                    FILING ON BEHALF OF
                                85 FLATBUSH RHO MEZZ LLC
        The undersigned, being the Member and the Independent Manager of 85 FLATBUSH
RHO MEZZ LLC (the “Company”), a Delaware limited liability company, in accordance with
the Delaware Limited Liability Company Act, 6 Del. C. § 18-101 et. Seq. and the Limited
Liability Company Agreement of 85 FLATBUSH RHO Mezz LLC, effective as of September
19, 2019 (the “Agreement”) do hereby consent to, adopt, authorize and approve the following
resolutions as of December    , 2020:
        WHEREAS, on December 16, 2020, a telephonic meeting was held with the Company’s
representatives and the Independent Manager to consider the financial and operational conditions
of the Company; and
       WHEREAS, the Member and the Independent Manager have considered the financial
and operational conditions of the Company and have reviewed supporting documentation and the
advice and recommendation of the Company’s professional and advisors with respect to the
options available to the Company, including the possibility of pursuing a restructuring of the
Company’s business and assets under title 11 of the United States Bankruptcy Code (the
“Bankruptcy Code”); and
        NOW, THEREFORE IT IS HEREBY RESOLVED, that after consideration of the
alternatives and the advice of the Company’s professionals and advisors, the Member has
determined in its business judgment that it is in the best interests of the Company, its creditors,
interest holders, and other interested parties and the Independent Manager having been asked to
consent to a Material Action pursuant to Section 9(d)(iii) of the Agreement, and considering her
fiduciary duties, if any, as provided under the Agreement that a voluntary petition be filed by the
Company seeking relief under the provisions of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern or Eastern District of New York (the “Petition”), and the
filing of such Petition be, and hereby is, authorized in all respects; and it is
       FURTHER RESOLVED, that David Goldwasser and such other additional persons as
may be designated by the Member and any other officer or person designated hereby are
appointed as authorized signatories and representatives in connection with the bankruptcy
proceeding authorized herein (collectively the “Authorized Representatives”); and it is
        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed and empowered on behalf of the Company to execute and verify
the Petition in the name of the Company under the Bankruptcy Code and to cause the same to be
filed; and it is
       FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized and directed to work with the Company’s advisors, Member and
Independent Manager, to effectuate a restructuring under the Bankruptcy Code; and to file all
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necessary motions and papers in the United States Bankruptcy Court for the Southern or Eastern
District of New York to obtained approval of such restructuring; and hereby authorized and
directed to execute appropriate agreements and related ancillary documents; and it is
       FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed and empowered, on behalf of and in the name of the Company, to
negotiate, execute, verify and file, or cause to be executed, verified and filed, all necessary
documents, including, without limitation, all petitions, affidavits, schedules, motions, lists,
applications, pleadings and other papers, and in that connection to employ and retain legal
counsel, financial advisors, accountants and other professionals and to take any and all action
which such Authorized Representative deems necessary and proper in connection with the
bankruptcy case.
       IN WITNESS WHEREOF, the undersigned Member and Independent Manager hereby
consent to and approve and adopt these resolutions as of the date set forth above and direct that
this Written Consent be filed with the Company’s minutes and official records.


                                                    MEMBER:
                                                    85 RHO LLC,
                                                    a New York limited liability company




                                                         /s/ David Goldwasser
                                                    By: _________________________
                                                           Name: David Goldwasser
                                                           Title: Chief Restructuring Officer

                                                    INDEPENDENT MANAGER:



                                                    _________________________
                                                    Miranda L. Brewer
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X

In re:                                                            Chapter 11

85 FLATBUSH RHO MEZZ LLC,                                         Case No.

                                             Debtor.
--------------------------------------------------------------X

In re:                                                            Chapter 11

85 FLATBUSH RHO HOTEL LLC,                                        Case No.

                                             Debtor.
--------------------------------------------------------------X

In re:                                                            Chapter 11

85 FLATBUSH RHO RESIDENTIAL LLC,                                  Case No.

                                             Debtor.
--------------------------------------------------------------X

                    DECLARATION PURSUANT TO LOCAL RULE 1007-2

         David Goldwasser, hereby declares under penalty of perjury that the following

statements are true and correct:

          1.     I am the Chief Restructuring Officer of 85 Flatbush RHO Mezz LLC (“Mezz”),

85 Flatbush RHO Hotel LLC (“Hotel”) and 85 Flatbush RHO Residential LLC (“Residential”,

and defined together with Mezz and Hotel, as the “Debtors”), and am fully familiar with the facts

set forth herein.

          2.     I submit this declaration in accordance with Local Bankruptcy Rule 1007-2 in

support of the Debtor’s filing of a voluntary petition under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”).




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         3.    Mezz is the 100% owner of Hotel and Residential. Hotel and Residential

collectively own the property located at 85 Flatbush Extension, Brooklyn, New York, (the

“Property”). The Property is a 132,641 square foot, twelve-story, mixed use property consisting

of a 174 room boutique hotel on the first 6 floors known as the Tillary Hotel Brooklyn, a 58,652

square foot 64-unit luxury multi-family building and a 5,642 square foot parking garage. The

residential component of the Property has 9 studios, 26 one-bedroom units and 29 two-bedroom

units. Of the 64 units, currently five (5) are occupied. The intention is to convert the residential

component into condominiums.

         4.    The COVID-19 pandemic and the attendant travel restrictions and quarantine

requirements along with the NYC shutdown of indoor dining beginning in March 2020 had an

immediate impact on the hospitality industry as a whole and caused the Hotel to shut down

operations entirely for the month of April 2020. The Hotel reopened to provide homeless shelter

services from May 15, 2020 through June 30, 2020. The Hotel reopened to the public on July

15, 2020 and remains open, but with a substantially reduced occupancy rate, resulting in limited

revenue. As a result, Mezz, Hotel and Residential have been unable to pay their current debt

service obligations to their secured lenders.

         5.    No pre-petition committee was organized prior to the Order for relief.

         6.    No property of the Debtor is in the possession and control of a receiver, however

Mezz’s secured lender served a notification of disposition of collateral and a subsequent

supplemental notification of disposition of collateral seeking to sell Mezz’s 100% ownership in

the membership interests of Hotel and Residential which UCC sale was originally scheduled for

November 30, 2020 and was thereafter adjourned to December 18, 2020.




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         7.    A summary of the Debtor's’ assets and liabilities will be set forth on each

Debtor’s respective summary of schedules to be filed.

         8.    The names and addresses of each Debtor’s twenty largest unsecured creditors,

excluding insiders, appears on Exhibit “A” to this affidavit.

         9.    All suits or proceedings in which the Debtors are named as a party will be listed

in each respective Debtor’s Statement of Financial Affairs to be filed.

         10.   The estimated operating expenses of the Debtors for the next thirty days is

attached the Debtors’ Cash Collateral Motion.

Dated: December 18, 2020



                                      85 FLATBUSH RHO MEZZ LLC



                                      By:       /s/ David Goldwasser
                                      DAVID GOLDWASSER
                                      CHIEF RESTRUCTURING OFFICER

                                      85 FLATBUSH RHO HOTEL LLC



                                      By:       /s/ David Goldwasser
                                      DAVID GOLDWASSER
                                      CHIEF RESTRUCTURING OFFICER

                                      85 FLATBUSH RHO RESIDENTIAL LLC



                                      By:       /s/ David Goldwasser
                                      DAVID GOLDWASSER
                                      CHIEF RESTRUCTURING OFFICER




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                             EXHIBIT A
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 Fill in this information to identify the case:
 Debtor name 85 Flatbush RHO Mezz LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:
 Debtor name 85 Flatbush RHO Hotel LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Akiva Hersh Klein                                                                                                                                                      $100,000.00

 Chesky Berkowitz                                                                                                                                                       $250,000.00

 Con Edison                                                                                                                                                             $144,699.91
 P.O. Box 1701
 New York, NY 10116
 Duetto Research                                                                                                                                                          $31,076.94
 Inc.
 2001 Gateway Place
 #520W
 San Jose, CA 95110
 Dura-Lift Inc.                                                                                                                                                           $29,259.12
 201 Hartle Street
 Suite B
 Sayreville, NJ 08872
 Enercon Technical                                                                                                                                                        $14,139.11
 Service
 1233 McDonald
 Avenue
 Brooklyn, NY 11230
 Greater Shield                                                                                                                                                         $369,452.62
 P.O. Box 110836
 Brooklyn, NY 11211
 Green & White                                                                                                                                                            $16,344.78
 Boutique
 Linen
 410 Garibaldi
 Avenue
 Lodi, NJ 07644
 Hershy Rubin                                                                                                                                                           $100,000.00

 House of Kooser                                                                                                                                                          $18,142.41
 P.O. Box 3184
 New York, NY 10163




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    85 Flatbush RHO Hotel LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYC Department of                                                                                                                                                      $239,724.12
 Finance
 P.O. BOX 5060
 Kingston, NY 12402
 NYS Sales Tax                                                                                                                                                          $140,807.02
 Processing
 P.O. Box 15168
 Albany, NY 12212
 Oracle America, Inc.                                                                                                                                                     $20,824.84
 P.O. Box 203448
 Dallas, TX 75320
 Rightway                                                                                                                                                                 $34,297.80
 Restoration LLC
 98 Beard St.
 Brooklyn, NY 11231
 Shmiel Chaim Brach                                                                                                                                                     $250,000.00

 Simon's Industrial                                                                                                                                                       $33,821.48
 Supply
 45-02 37th Avenue
 Long Island City, NY
 11101
 TravelClick Inc.                                                                                                                                                         $21,050.46
 P.O. Box 71199
 Chicago, IL 60694
 Yanky Rubin                                                                                                                                                            $100,000.00

 Yanky Rubin                                                                                                                                                            $150,000.00

 Yossi Itzkowitz                                                                                                                                                        $200,000.00




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                                            Pg 17 of 19

 Fill in this information to identify the case:
 Debtor name 85 Flatbush RHO Residential LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Con Edison                                                                             Disputed                                                                                  $0.00
 P.O. Box 1701
 New York, NY 10116
 National Grid                                                                          Disputed                                                                                  $0.00
 P.O. Box 11741
 Newark, NJ 07101




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      85 Flatbush RHO Mezz LLC                                                                 Case No.
                                                                                   Debtor(s)         Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CHIEF RESTRUCTURING OFFICER of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




 Date:       December 18, 2020                                          /s/ DAVID GOLDWASSER
                                                                        DAVID GOLDWASSER/CHIEF RESTRUCTURING OFFICER
                                                                        Signer/Title




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                           85 FLATBUSH MEZZ LLC
                           225 BROADWAY
                           32ND FLOOR
                           NEW YORK, NY 10007


                           CORP. COUNSEL FOR NYC
                           100 CHURCH STREET
                           NEW YORK, NY 10007


                           INTERNAL REVENUE SERVICE
                           PO BOX 7346
                           PHILADELPHIA, PA 19101-7346


                           LIPA RUBIN
                           860 BEDFORD AVENUE
                           BROOKLYN, NY 11205


                           NY STATE DEPT. OF FINANCE
                           ATTN: BANKRUPTCY SPECIAL
                           PO BOX 5300
                           ALBANY, NY 12205


                           NYC DEPT. OF FINANCE
                           345 ADAMS STREET, 3RD FL.
                           ATTN: LEGAL AFFAIRS
                           BROOKLYN, NY 11201


                           OFFICE OF THE ATTY GEN
                           28 LIBERTY ST.
                           NEW YORK, NY 10005


                           SEYFARTH SHAW LLC
                           ATTN:JERRY A. MONTAG, ESQ
                           620 EIGHTH AVENUE
                           NEW YORK, NY 10018-1405


                           US ATTY OFFICE -SDNY
                           86 CHAMBERS STREET
                           ATTN: TAX AND BANKRUPTCY
                           NEW YORK, NY 10007
